                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO


In re:

JOEL ALAN GAFFNEY,                                              No. 21-11322-kht7

            Debtor.

         NOTICE OF ENTRY OF APPEARANCE AND REQUEST FOR NOTICE

            Mary L. Johnson, Assistant U.S. Trustee in the District of New Mexico, files this

Notice of Entry of Appearance and Request for Notice in this matter on behalf of the Office of

the United States Trustee.

                                                 ILENE J. LASHINSKY
                                                 United States Trustee

                                                 /s/ Mary L. Johnson
                                                 Mary L. Johnson
                                                 Assistant United States Trustee
                                                 Office of U. S. Trustee
                                                 P. O. Box 608
                                                 Albuquerque, NM 87103
                                                 (505) 248-6549
                                                 mary.l.johnson@usdoj.gov

                               CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2022 in accordance with NM LBR 9036-1 and Fed. R.
Civ. P. 5(b)(2)(E), the foregoing was filed and served via the Court’s CM/ECF system to those
parties who are registered CM/ECF participants in this matter.

       I further certify that a copy of this document was provided via U.S. Mail, first-class
postage prepaid, and by e-mail on January 3, 2022 to the below listed party:

Joel Alan Gaffney
4200 Montgomery Blvd NE, Apt 208
Albuquerque NM 87109
Joel.alan.gaffney@gmail.com

 /s/ Tamara D. Pardo
 Tamara D. Pardo
  Paralegal Specialist




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